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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Utopia Equipment, Inc., as Assignee of Savalas Sheppard, Appellant, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;ELRAC, Inc., Doing Business as Enterprise Rent-A-Car, Respondent. 

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&lt;p&gt; 

Gary Tsirelman, P.C. (Irena Golodkeyer, Esq.), for appellant. 

Brand, Glick &amp;amp; Brand, P.C. (Edward J. Savidge, Esq.), for respondent. 

&lt;/p&gt; 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Kings County (Harriet L. Thompson, J.), entered September 4, 2014. The order denied plaintiff's motion for leave to renew its opposition to defendant's motion for summary judgment dismissing the complaint, which had been granted in a prior order of the same court entered April 10, 2013.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order entered September 4, 2014 is affirmed, with $25 costs.&lt;/p&gt; 

&lt;p&gt;In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled independent medical examinations (IMEs). By order entered April 10, 2013, the Civil Court granted defendant's motion. Plaintiff subsequently moved for leave to renew its opposition to defendant's motion, based upon a trial transcript from an unrelated case, which transcript set forth that the name that defendant's IME scheduling letters said to contact to reschedule the IMEs, Lynn Carter, was a pseudonym
and that this was a fact which, plaintiff asserted, would change the prior determination since, in the instant case, plaintiff's assignor was also instructed to contact Lynn Carter if plaintiff's assignor needed to reschedule the IMEs. By order entered September 4, 2014, &lt;font color="FF0000"&gt;[*2]&lt;/font&gt;the Civil Court denied plaintiff's motion.&lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Brand Med. Supply, Inc., as Assignee of Jeffrey Ferguson v ELRAC, Inc.&lt;/i&gt; (__ Misc 3d __, 2017 NY Slip Op _____ [appeal No. 2014-2323 K C], decided herewith), the order entered September 4, 2014 is affirmed.&lt;/p&gt; 

&lt;p&gt;PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.&lt;/p&gt; 

&lt;br&gt;ENTER: 

&lt;br&gt;Paul Kenny 

&lt;br&gt;Chief Clerk 

&lt;br&gt;Decision Date: December 08, 2017 

 

 

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